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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 UNITED STATES OF AMERICA


 v.                                             CRIMINAL CASE NO.
                                                1:11-cr-00255-TWT-RGV
 STACEY DOOLEY and ASHLEY
 HENDERSON


              ORDER FOR SERVICE OF MAGISTRATE JUDGE’S
                  REPORT AND RECOMMENDATION

       Attached is the Report and Recommendation of the United States Magistrate

Judge made in accordance with 28 U.S.C. § 636(b)(1) and N.D. Ga. Cr. R.

58.1(A)(3)(a) and (b). Let the same be filed and a copy, with a copy of this Order, be

served upon counsel for the parties.

       Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections, if any,

to the Report and Recommendation within fourteen (14) days of receipt of this

Order. Should objections be filed, they shall specify with particularity the alleged

error(s) made (including reference by page number to the transcript if applicable)

and shall be served upon the opposing party. The party filing objections will be

responsible for obtaining and filing the transcript of any evidentiary hearing for
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review by the District Court. Failure to object to this Report and Recommendation

waives a party’s right to review. Fed. R. Crim. P. 59(b)(2).

      Pursuant to Title 18, U.S.C. § 3161(h)(1)(D) and (H), the above-referenced

fourteen (14) days allowed for filing objections is EXCLUDED from the

computation of time under the Speedy Trial Act, whether or not objections are

actually filed. The Clerk is DIRECTED to submit the Report and Recommendation

with objections, if any, to the District Court after expiration of the above time period.

      IT IS SO ORDERED and DIRECTED, this 30th day of January, 2013.

                                                      .


                                         RUSSELL G. VINEYARD
                                         UNITED STATES MAGISTRATE JUDGE




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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
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 v.                                             CRIMINAL CASE NO.
                                                1:11-cr-00255-TWT-RGV
 STACEY DOOLEY and ASHLEY
 HENDERSON

           MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

       Defendants Stacey Dooley (“Dooley”) and Ashley Henderson (“Henderson”),

collectively referred to herein as “defendants,” are charged along with seven other

co-defendants in a fifteen count indictment. [Doc. 312].1 Dooley and Henderson are

charged with (1) unlawfully obstructing, delaying, and interfering with interstate

commerce by taking personal property in the custody and control of armored car

couriers by means of actual and threatened force, violence, and fear of injury, and

conspiring to do so, in violation of 18 U.S.C. §§ 1951 and 2; (2) carrying and using a

firearm in relation to a crime of violence, in violation of 18 U.S.C. §§ 924(c)(1)(A)(ii)




       1
        The cited document and page numbers in this Report and Recommendation
refer to the document and page numbers shown on the Adobe file reader linked to
this Court’s electronic filing database (CM/ECF).
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and 2; and (3) causing the death of a person through using a firearm in relation to

a crime of violence, in violation of 18 U.S.C. §§ 924(c)(1)(A), 924(j)(1), and 2. See [Id.].

       Defendants have filed motions to suppress intercepted communications, [Doc.

247 (Henderson’s motion); Doc. 252 (Dooley’s motion)], and the government has

filed a consolidated response to these motions, see [Doc. 341]. For the following

reasons, it is hereby RECOMMENDED that the motions to suppress intercepted

communications, [Docs. 247, 252], be DENIED.

                            I. FACTUAL BACKGROUND

A.     Wiretap for Target Telephone #1 (404-667-4900) (“First Wiretap”)

       On March 18, 2011, the Acting District Attorney for the Gwinnett Judicial

Circuit submitted an “Application for an Order Authorizing the Interception of Wire

Communications” to a Gwinnett County Superior Court Judge. See [Doc. 341-1 at

2-15]. An affidavit signed by Detective Andrew Whaley (“Detective Whaley”) of the

Gwinnett County Police Department (“GCPD”), was submitted in support of the

application.2 [Id. at 6, 16]. The application sought to intercept communications from


       2
        Detective Whaley stated that he had been employed by the GCPD since June
of 2007 and had been a police officer since January of 2000. [Doc. 341-1 at 17]. He
stated that he had worked for four years on narcotics investigations, prostitution
investigation, burglary investigations, and robbery investigations. [Id.]. Detective
Whaley averred that he had attended “Basic Investigations courses,” received 2325
hours of Peace Officer Standards and Training (“POST”) instruction, and that he had
been the lead investigator in “numerous drug investigations and prostitution
investigations” when he worked for a different police department, that he had been

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“Target Telephone #1” (404-667-4900) used by co-defendant Quentin Booker

(“Booker”), and the application specified that an investigation had produced

probable cause to believe that Target Telephone #1 was being used to facilitate

criminal offenses, specifically robbery and armed robbery, and that “Booker, an

unidentified black male referred to as ‘Chicken,’ and others known and as yet

unknown” were involved in the offenses. [Id. at 2-3].

      1.     Probable Cause in the First Wiretap Affidavit

      In the affidavit submitted in support of the first wiretap application, Detective

Whaley described in great detail the background investigation leading to the request

for the wiretap order. See [id. at 24-30]. Specifically, the affidavit described the

investigation of three armored truck robberies in Gwinnett County, taking place at

a Bank of America on November 11, 2010 (“Bank of America robbery”); a Wells


the lead investigator in “numerous burglary and robbery investigations while
working for [GCPD],” and that he had been associated with more than two hundred
felony charges as a result of those investigations. [Id.]. He further affirmed that his
investigations had resulted in “arrests, search warrants and seizure of [illegal drugs],
money, guns, and personal property of victims” and that he was “familiar with how
[] drug organizations operate as well as burglary and robbery organizations.” [Id.].
 He stated that he was “familiar with the ways in which armed robbers conduct their
business, including the various means and method by which armed robbers and
their criminal organizations use cellular telephone, text messaging, digital display
paging devices and calling cards to facilitate armed robberies; and their use of
numerical codes and code words to conduct their transactions.” [Id. at 17-18]. He
testified that in his experience “armed robbers often obtain cellular telephones in
fictitious names, and/or the names of third parties in an effort to conceal their drug
trafficking [sic] activities from law enforcement.” [Id. at 18].

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Fargo on November 29, 2010 (“Wells Fargo robbery”); and at the Mall of Georgia on

December 7, 2010 (“Mall of Georgia robbery”). [Id. at 24-29]. The affidavit noted

how similarities in the Bank of America robbery and the Wells Fargo robbery led

officers to believe that the two may be related, [id. at 25-28],3 and how a string of

armored truck robberies eventually led law enforcement agents from the Federal

Bureau of Investigation, DeKalb County, Marietta, and the City of Atlanta to pool

their resources with the GCPD to share information regarding their investigations,

[id. at 33].

       The affidavit described how the investigators were able to identify vehicles

that were involved in these robberies, and how this search eventually led them to

identify individuals suspected of being involved in the crimes. See generally [id. at

26-32]. Specifically, witnesses at the Bank of America robbery were able to get the

tag number for the getaway vehicle, a blue Chevy Tahoe (“the Tahoe”), which had

been stolen from the Atlanta Medical Center (“AMC”) in Fulton County earlier on

the morning of that robbery. [Id. at 26]. Surveillance video from the AMC parking


       3
        In each robbery, the courier or “hopper” from the armored truck company
was mid-way through loading the cassettes of money into the ATM when a black
male wearing a hoodie and carrying a gun came up behind the courier and told him
or her to “open” the ATM. Compare [Doc. 341-1 at 25], with [id. at 27]. In each
case, the suspect or suspects then grabbed the unloaded cassettes from the ATM, but
were unable to pull the previously loaded cassettes out, breaking off the handles.
Compare [id. at 25], with [id. at 27]. The robber then fled to a neighboring parking
lot where a car was waiting for him. Compare [id. at 25-26], with [id. at 27-28].

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lot showed that a dark-colored passenger car, which appeared to be a late model

Buick LaCrosse (“the LaCrosse”), and a maroon SUV were in the AMC parking lot

near where the Tahoe was parked. [Id. at 28]. After a meeting between the driver

of the LaCrosse and an occupant of the maroon SUV, someone from the maroon

SUV broke into the Tahoe, and all three cars then drove off in the same direction.

[Id.]. Video surveillance from the Mall of Georgia parking lot showed that the same

type of LaCrosse was used as a getaway vehicle by the armed robber. [Id. at 30].

Based on the body style and features of the LaCrosse, officers determined the vehicle

was a brown 2008-2009 Buick LaCrosse Super, and further investigation revealed

that only one vehicle, owned by Anita Booker, wife of co-defendant Booker, was a

potential match.4 [Id. at 31-32].

      The affidavit also described how fingerprints recovered following an armored

car robbery in Marietta provided law enforcement with evidence supporting

Booker’s involvement in the robberies. [Id. at 33-35, 44-45]. Specifically, the affidavit

stated that one fingerprint recovered from the getaway vehicle used in the Marietta

armed robbery was identified as belonging to Christopher Bennett (“Bennett”), who


      4
         The affidavit also explained that the LaCrosse was later found in the
driveway of Anita Booker’s cousin in Hiram, Georgia, in March of 2011. [Doc. 341-1
at 46]. Detective Whaley stated that he believed Booker had taken the vehicle there
and “draped it with a vehicle cover in order to conceal its identify and avoid its
detective by law enforcement officers investigating the recent armored truck
robberies.” [Id.].

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had been reported missing on December 29, 2010.5           [Id. at 33].   During the

investigation of Bennett’s disappearance, officers subpoenaed his phone records and

the phone records for the last numbers he had contacted, believing it would belong

to “Chicken,” who had been identified as an individual connected to the robberies.6

[Id.]. Records for that phone number showed that it was actually registered to

Henderson from November 12, 2010, until December 29, 2010, and that it had been

used in the vicinity of the armored car robberies, and had moved away from those

locations immediately after each robbery took place. [Id. at 33-34]. Additionally,

one of the numbers called from that phone around the times of the robberies was

registered to Booker at the same address listed on the registration for the LaCrosse.



      5
        According to interviews with Bennett’s brother, Tramel Bennett (“Tramel”),
Bennett’s girlfriend, Aeriel Taylor (“Taylor”), and Warren Pope (“Pope”) Bennett
had admitted to them before his disappearance that he was involved in the armored
car robberies. See [Doc. 341-1 at 35, 37-39]. Bennett also told them that “Big Quint”
was responsible for planning the robberies, and both Pope and Donavan Thomas,
Bennett’s cousin who denied any knowledge of the robberies, identified a picture of
Booker as “Big Quint” or “Big Q.” [Id. at 35, 37-39]. Pope, Tramel, and Taylor also
told police that Bennett had informed him that “Chicken” and “Teddy” were
involved in the robberies. [Id. at 37, 39]. According to Tramel, Bennett also told him
that the robbery was supposed to be an inside job. [Id. at 39]. Further police
investigation revealed that Veronica Bullard, who was employed by Dunbar
Armored Truck Company and had worked on three of the routes that had been
robbed, was Booker’s sister. [Id. at 34, 36].
      6
         Taylor told law enforcement that Bennett was supposed to be meeting
“Chicken” when he disappeared, leading investigators to believe that “Chicken” was
the last person Bennett may have contacted with his phone. [Doc. 341-1 at 33].

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[Id. at 34]. Finally, subpoenaed phone records for a number associated with Booker7

showed that the phone was in the vicinity of each robbery when it took place and

left the area immediately after the robberies were over. See [id. at 44-45].

      The affidavit also described how information gleaned from visual surveillance

and GPS trackers attached to Booker’s vehicles connected Booker to Target

Telephone #1. See [id. at 40-42].8 The GPS tracker revealed that Booker’s vehicle

traveled to a Spring Hill Suites in Lithia Springs, Georgia, on March 14, 2011, and

when the manager of the hotel was interviewed the following day, he confirmed that

Booker entered the lobby and requested a room key for a room registered to Stanley

Johnson (“Johnson”). [Id. at 41-42]. After the manager refused to give him a key

because Booker was not the registered guest, Booker stepped into the lobby and

made a phone call on his cell phone, and Johnson arrived in the hotel lobby shortly

thereafter to obtain a key for Booker.9       [Id.].   Based on this interaction, law


      7
       Tramel provided law enforcement with phone numbers for Booker and
“Chicken.” [Doc. 341-1 at 39].
      8
        During the surveillance of Booker, agents also observed him watching a
Loomis truck as it made deliveries and “engaging in evasive driving techniques,
referred to by law enforcement officials as heat checks.” [Doc. 341-1 at 40-41].
Detective Whaley explained that “[h]eat checks are commonly used by individuals
involved in criminal activity to determine if law enforcement officers are conducting
surveillance on them.” [Id. at 41].
      9
        Video surveillance confirmed the manager’s version of events. [Doc. 341-1
at 42]. Agent Paul Szabo (“Agent Szabo”), who had observed Booker several times

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enforcement officials subpoenaed Johnson’s telephone records in order to obtain

Booker’s telephone number. [Id.]. The records revealed that Johnson received a call

from Target Telephone #1 (404-667-4900) at approximately the same time that the

hotel manager observed Booker in the lobby making a phone call. [Id. at 43-44].

      2.     Necessity in the First Wiretap Affidavit

      Detective Whaley explained that a wiretap was necessary because “routine

investigative techniques” had been tried and had failed, appeared reasonably

unlikely to succeed if tried, or were too dangerous to employ. [Id. at 47]. With

respect to physical surveillance, he noted that agents efforts had been “consistently

thwarted by Booker’s evasive driving techniques . . . and Booker’s sporadic

schedule,” and he noted that physical surveillance was not likely to accomplish the

investigation’s goals because it is impossible to conduct 24/7 surveillance and

excessive surveillance of mobile targets was likely to drive the organization further

underground. [Id. at 47-48].

      With respect to grand jury subpoenas, Detective Whaley noted that the

subjects involved in Booker’s organization would likely be uncooperative or invoke

their Fifth Amendment privileges, that subpoenas would likely lead to the

destruction of evidence or cause the organization to move “further


while surveilling him, confirmed that the individual on the tape who had spoken
with the manager was Booker. [Id.].

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underground,”and that it would be unwise to grant immunity at that stage in the

investigation when the most culpable individuals had not yet been identified. [Id.

at 49]. He also noted that subpoenas to custodians of records would not likely be

helpful because, in his experience, “individuals involved in criminal activity often

obtain cellular telephones in fictitious names or the names of third parties, or they

obtain prepaid calling cards without any corresponding subscriber information in

an effort to conceal their illegal activities.” [Id.].

       With respect to using confidential informants, Detective Whaley noted that

no informants were known or available within the organization at that time, and

none of the individuals who had been interviewed had “firsthand knowledge about

the day-to-day operations of the organization.” [Id. at 50]. Consequently, based on

his experience, Detective Whaley opined that it was unlikely that someone would

be able to infiltrate the organization and gain access to useful information within a

reasonable amount of time. [Id.]. For this same reason, Detective Whaley did not

believe that an undercover agent would be useful to the investigation, and he noted

that the organization’s “propensity for violence” made such a tactic overly

dangerous, and “investigators presently lack[ed] an intermediary source or person

to introduce an undercover agent.”10 [Id. at 50-51]. Similarly, with respect to

       10
       Detective Whaley added that since neither confidential informants nor
undercover agents were viable investigative techniques, consensual monitoring was

                                             9
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interviews of witnesses or targets, Detective Whaley noted that cooperation was

unlikely “because of the family relationships and/or friendships and loyalties that

often exist in these types of criminal organizations” and alternatively because any

person aligning themselves with law enforcement may fear retaliation against

themselves or their families by other members of the organization. [Id. at 53].

      Detective Whaley further averred that search warrants would not be useful

at that point in the investigation. [Id. at 51-52]. Although law enforcement had an

address for Booker, they are unsure of the logistics of his operation and whether any

guns, money, or other evidence would be located in his home, and feared that

executing a search warrant prematurely would therefore not reveal much evidence

and may push the organization further underground. [Id.].

      Finally, although toll records had been used successfully in the investigation,

Detective Whaley pointed out that such records were of “limited use” as an

investigative tool because they, like pen register and trap and trace devices, provide

no content or “real-time” information about contacts between suspects, and do not

even provide information as to who is actually using the telephone associated with

the number. [Id. at 52]. He further noted that, particularly in light of the fact that

subscriber information associated with telephone numbers of known criminals is



not a viable option for investigators. [Doc. 341-1 at 54].

                                         10
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often false, “[o]nly the interception of wire communications . . . will provide ‘real-

time’ information on the content of communications and the identity of the person

making the communications” permitting investigators to identify and develop

prosecutable cases against the suspects. [Id.].11 A Gwinnett County Superior Court

Judge issued an order authorizing interception of wire communications on Target

Telephone #1 on March 18, 2011. [Doc. 341-2 at 2, 6].12

B.     Wiretap for Target Telephone #2 (678-895-3369) (“Second Wiretap”)

       On March 21, 2011, the Acting District Attorney for the Gwinnett Judicial

Circuit submitted a “First Motion to Amend Order Authorizing the Interception of

Wire Communications” to a Gwinnett County Superior Court Judge. See [Doc. 341-

2]. An affidavit signed by Detective Whaley was attached to the motion seeking a

second wiretap, see [id. at 3, 8-18], to intercept communications on “Target




       11
         Detective Whaley also noted that there were no prior authorized wiretaps
in place at that time during the investigation which could serve as a substitute for
the wiretap being sought. [Doc. 341-1 at 53]. Although the affidavit also addressed
the types of communications to be intercepted, the time period for interceptions,
minimization, the basis for continuing monitoring beyond the first call, and whether
notice of the investigation to the conspirators was warranted, see [id. at 53-38], no
defendant has raised challenges to these aspects of the wiretap application and these
topics will therefore not be summarized herein.
       12
         The parties have not provided a copy of the original wiretap order, see [Doc.
341-1], but it is undisputed that the order was issued on March 18, 2011.

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Telephone #2” (678-895-3369), subscribed to and used by “Donyale Dooley.”13 [Id.

at 2].

         1.    Probable Cause in the Second Wiretap Affidavit

         In support of the motion for a second wiretap, Detective Whaley’s affidavit,

which incorporated his original affidavit for the first wiretap, stated that an

individual identified as Dooley had called Booker on Target Telephone #1 from

Target Telephone #2 (678-895-3369)14 on March 20, 2011, and the two then engaged

in a conversation, speaking in “code” allegedly about an earlier armored car robbery

and preparation for another robbery.15 [Doc. 341-2 at 10]. Target Telephone #2 also


         13
        The affidavit refers to Dooley as “Donyale Dooley” because he used his
brother’s name as an alias when he established cell phone service. See
generally [Doc. 341-2; Doc. 341-4 at 8 n.1; Doc. 544-1].
         14
         During this conversation, the individual speaking with Booker mentioned
a red vehicle he owned that had been stolen, but which he had recovered. [Doc. 341-
2 at 11]. A red Chevrolet Impala (the “Impala”), which was registered to Dooley’s
girlfriend, co-defendant Desiree Jones (“Jones”), had been observed parked outside
Dooley’s home. [Id. at n.2]. Moreover, Dooley’s water account at his residence listed
the number for Target Telephone #2 as a contact number. [Id. at 12].
         15
         Detective Whaley stated that “based upon [his] training and experience,
[speaking in code] is a common tactic used by individuals engaged in criminal
activity in an attempt to conceal their illegal endeavors.” [Doc. 341-2 at 10].
Specifically, during their conversation, Dooley told Booker “that shit was ugly and
unreal and Booker acknowledged him.” [Id.]. Dooley then stated that “they were
just giving that pussy away” and talked about how they “didn’t do their
‘homework,’” but that he had already “put the homework in.” [Id.]. Booker asked
him when he “wants to do that” and Dooley replied “whenever you’re ready.” [Id.].
Dooley also made a reference to the fact that “the mother fucker only go down there

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had numerous contacts with Booker’s telephone and a telephone believed to have

been used by an individual known as “Chicken,” who was reportedly connected to

some of the robberies. [Id. at 14]. Furthermore, other phone numbers known to be

associated with Dooley16 were in contact with Booker on the days of each of the three

robberies in Gwinnett County and numerous other times in the months surrounding

the robberies. [Id. at 12-14].

      Detective Whaley also described how investigators further connected Dooley

to Booker through surveillance. On March 7, 2011, law enforcement followed

Booker in his vehicle as he appeared to be “casing” a Loomis armored truck in Stone

Mountain, and they observed that a black Buick Park Avenue (the “Buick”) with a

front hood that was noticeably ajar seemed to be casing the truck in conjunction with


only to get a small change and that was it.” [Id. at 11]. Detective Whaley believed
that this conversation referenced the DeKalb County armored truck robbery on
March 15, 2011, during which the courier was shot and killed. [Id. at 10-11]. He
believed that Dooley was telling Booker that it was easy to rob armored truck
guards, but that the last robbery had not been preceded by sufficient surveillance
and intelligence, referencing the fact that the amount of money taken in the robbery
was significantly smaller than in previous robberies, a detail that had not been
released to the public. [Id. at 11]. Detective Whaley interpreted the rest of the
conversation to indicate that Dooley had already done some surveillance on a new
target, and so he was ready for another armed robbery whenever Booker was. [Id.].
      16
         Dooley had placed phone calls to Gwinnett County 911 from one of the
numbers in 2009 because he wanted to surrender his pit bull puppy to Gwinnett
County Animal Control. [Doc. 341-2 at 11-12]. Dooley listed another number as the
contact information for his water account, and he was the registered subscriber for
two other phones. [Id. at 12, 14].

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Booker. [Doc. 341-1 at 40-42]; see also [id. at 26-32 (describing investigation leading

to identification of vehicles through surveillance video and public records)].

Detective Whaley stated that the Buick with the hood ajar observed on March 7,

2011, was later observed by law enforcement parked in the driveway at 5015 Michael

Jay Street, the address associated with Dooley and his telephones. [Doc. 341-2 at 13-

14].

         2.    Necessity in the Second Wiretap Affidavit

         In the affidavit accompanying the motion for the second wiretap, Detective

Whaley outlined the “normal investigative techniques” that had been tried and

failed or reasonably appeared unlikely to succeed if tried.         [Id. at 15].   The

explanations he provided were essentially the same as those detailed with respect

to the first wiretap. See [id. at 15-18]. However, Detective Whaley also noted that

surveillance was becoming increasingly difficult given the fact that the intercepted

phone calls indicated that the suspects were aware they were being followed. [Id.

at 15]. A Gwinnett County Superior Court Judge issued an order granting the

motion to intercept wire communications on Target Telephone #2 on March 21, 2011.

[Id. at 19-26].




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C.     Wiretap for Target Telephone #3 (678-280-4793) and Target Telephone #4
       (980-333-7216) (“Third Wiretap”)

       On March 24, 2011, the Acting District Attorney for the Gwinnett Judicial

Circuit submitted a “Second Motion to Amend Order Authorizing the Interception

of Wire Communications” to a Gwinnett County Superior Court Judge. See [Doc.

341-3]. Another affidavit signed by Detective Whaley was submitted in support of

this motion for a third wiretap, see [id. at 6-13], which sought to intercept

communications on “Target Telephone #3” (678-280-4793) and “Target Telephone

#4” (980-333-7216). [Id. at 2-3]. Target Telephone #3 was registered to “Donyale

Dooley” living at 5015 Michael Jay Street, but the subscriber information for Target

Telephone #4 was unknown. [Id. at 2-3, 9-10].

       1.    Probable Cause in the Third Wiretap Affidavit

       Detective Whaley’s affidavit, which incorporated his prior affidavits for the

earlier wiretaps, noted that on March 22, 2011, Target Telephone #2 had been left

with Dooley’s girlfriend, co-defendant Jones, and that Dooley had contacted her

multiple times from Target Telephone #3 (678-280-4793), a phone which subscriber

information indicated was registered to Dooley and activated on March 8, 2011.

[Doc. 341-3 at 7-8]. Surveillance on March 22, 2011, also revealed that two males got

into the Impala at Dooley’s residence and then traveled to two different Bank of




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America branches. [Id. at 8]. During this time, Target Telephone #3 was “pinged”17

several times and its location corresponded exactly with the location of the Impala,

providing evidence that the phone was inside the car. [Id.].

      Surveillance agents at the Bank of America located at 3141 Turner Hill Road,

Lithonia, Georgia, on March 22, 2011, observed one black male get out of the Impala.

[Id.]. Video surveillance from inside the Bank of America and bank statements

subsequently obtained revealed that Dooley was the individual who entered the

bank on March 22, 2011, and that he withdrew $1100.00 on that date. [Id.]. Later

that night, Booker, using Target Telephone #1, called Dooley on Target Telephone

#2. [Id.]. A female answered and when Booker asked for Dooley, she responded

that he would call Booker from the “Lo-Key shop,”18 and she waited on the phone

until Dooley called Booker from Target Telephone #4 (980-333-7216). [Id.]. The

conversation between Booker and Dooley lasted about ten minutes, during which




      17
        When a telephone is “pinged,” its position is identified through GPS data.
[Doc. 341-3 at 8]. Dooley’s challenge to the pinging of his cell phones was addressed
in a separate Report and Recommendation. See [Doc. 574].
      18
        Detective Whaley stated that “[b]ased upon [his] training and experience
and [his] review of the previously intercepted telephone conversations conducted
over TARGET TELEPHONE #1 and TARGET TELEPHONE #2, [he] believe[d] that
the term ‘Lo-Key shop’ is slang or code for a telephone that has not been
compromised or intercepted by law enforcement.” [Doc. 341-3 at 9].

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time they spoke in “code or slang.”19 [Id. at 9]. Detective Whaley concluded that the

investigation indicated that Dooley was currently using three cell phones, Target

Telephones ## 2-4, “to plan, coordinate and conduct armed robberies in Gwinnett

County and surrounding metropolitan-Atlanta counties.” [Id.].

      2.     Necessity in the Third Wiretap Affidavit

      In the affidavit accompanying the motion for the third wiretap, Detective

Whaley outlined the “normal investigative techniques” that had been tried and had

failed or reasonably appeared unlikely to succeed if tried by incorporating the

statements he made in the previous wiretap applications. [Id. at 10]. A Gwinnett

County Superior Court Judge issued an order granting the motion to intercept wire

communications on Target Telephones ## 3 and 4 on March 24, 2011. [Id. at 13-20].




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           Specifically, Dooley stated that he and Booker needed to get together, and
that he had been checking the block to see if it was “hot.” [Doc. 341-3 at 9]. Dooley
also made a reference to “chopper spitting”and stated that his area was like a
“blizzard” and that there had been nothing out his way. [Id.]. He also stated that
“folks would be checking temperatures.” [Id.]. Based upon Detective Whaley’s
training and experience, he believed that Dooley told Booker he had been checking
to see if the police were watching him but that he had not seen any police in his area.
[Id.]. Detective Whaley also stated that “chopper spitting” is a commonly used slang
street reference for shooting a gun, “folks” is commonly used to refer to police or
law enforcement and “temperature” is a reference to the presence of police in the
area. [Id.].

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D.     Wiretap for Target Telephone #5 (951-313-7823) (“Fourth Wiretap”)

       On March 28, 2011, the Acting District Attorney for the Gwinnett Judicial

Circuit submitted a “Third Motion to Amend Order Authorizing the Interception of

Wire Communications” to a Gwinnett County Superior Court Judge. See [Doc. 341-

4]. Another affidavit signed by Detective Whaley was submitted in support of this

motion for a fourth wiretap, see [id. at 6-13], which sought to intercept

communications on “Target Telephone #5” (951-313-7823), used by “Stacey Dooley,

a/k/a/ ‘Chicken,’ a/k/a/ ‘Poor Chicken.’” [Id. at 2].

       1.    Probable Cause in the Fourth Wiretap Affidavit

       Detective Whaley’s affidavit, which incorporated his prior affidavits for the

earlier wiretaps, noted that on March 27, 2011, Dooley had received a call on Target

Telephone #2 from his home phone number in which a female, believed to be Jones,

discussed purchasing a new Tracphone from the store. [Id. at 8]. Several hours

later, around 7:30 p.m., Dooley called Target Telephone #1 from Target Telephone

#5 (951-313-7823). [Doc. 341-4 at 8]. In this conversation, Dooley referred to Target

Telephone #5 as his new “joint,” which Detective Whaley explained is a slang term

for a new phone, and Dooley said that he had “four joints” that he was also currently

using, which Detective Whaley believed to be a reference to Target Telephones ##

2-5. [Id.]. Dooley also said that he was thinking of “coming out his (Booker’s) way



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and giving him a call.” [Id.]. Booker then accused Dooley of not playing fair and

indicated that he had been thinking about “how y’all rob partners.” [Id. at 8-9].

Dooley told Booker he was “thinking wrong” and the call ended. [Id. at 9].

      Dooley called Booker back almost immediately and the two had a coded

conversation about a money dispute. [Id.]. According to Detective Whaley, “[i]t

appear[ed] from the content and tone of the phone conversations that Booker and

Dooley could be discussing the disposition of money from robberies or other illegal

activity and that Booker [was] displeased with Dooley’s actions in view of their

agreement.” [Id.]. Dooley ended the second conversation by telling Booker that he

was going to Charlotte and that he needed “4 lab packs” to make the trip,20 a

reference which Detective Whaley believed “may indicate Dooley’s need or plan to

obtain additional money before leaving on his trip.” [Id.].

      GPS tracking devices installed on several vehicles involved in the

investigation revealed that earlier in the day on March 27, 2011, the Impala, which

Dooley had previously been seen driving, traveled to a parking lot near a Wells

Fargo bank in Decatur, Georgia21 and parked there for about thirteen minutes. [Id.


      20
       The investigation had revealed that Dooley had ties to Mecklenburg County,
North Carolina. [Doc. 341-4 at 9].
      21
        This bank, like those which served as the scene of other robberies, was
serviced by Loomis Armored Truck Company and was on the same armored vehicle
route with the two bank locations that Booker was believed to have previously

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at 10]. The vehicle also “made several circles around the bank and up and down the

streets in the area of the bank, but did not stop anywhere other tha[n] the location

at the Wells Fargo bank.” [Id.]. Detective Whaley stated that it appeared from the

driving pattern that the vehicle was checking for routes of escape, as distinguished

from a dead-end street, and for a place to possibly abandon a vehicle. [Id.].

Detective Whaley concluded that the investigation indicated that Dooley was using

Target Telephone #5 “to plan, coordinate and conduct armed robberies in Gwinnett

County and surrounding metropolitan-Atlanta counties.” [Id. at 10].

      2.     Necessity in the Fourth Wiretap Affidavit

      In the affidavit accompanying the motion for the fourth wiretap, Detective

Whaley outlined the “normal investigative techniques” that had been tried and had

failed or reasonably appeared unlikely to succeed if tried by incorporating the

statements he made in the original application for the first wiretap and in the

affidavits supporting the second and third wiretaps. [Id. at 11]. A Gwinnett County

Superior Court Judge issued an order granting the motion to intercept wire

communications on Target Telephone #5 on March 28, 2011. [Id. at 15-22].




surveilled. See [Doc. 341-4 at 10].

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                                  II. DISCUSSION

A.     Statutory Framework for Intercepted Communications

       “Title III of The Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C.

§§ 2510-2520, sets forth numerous requirements the government must meet before

electronic surveillance (wiretaps) may be authorized.” United States v. Flores, No.

1:05-cr-558-WSD-JFK, 2007 WL 2904109, at *21 (N.D. Ga. Sept. 27, 2007), adopted at

*15. For example, pursuant to 18 U.S.C. § 2518, a wiretap application must include:

       a full and complete statement of the facts and circumstances relied
       upon by the applicant . . . including details as to the particular offense
       . . ., a particular description of . . . the type of communications sought
       to be intercepted, the identity of the person . . . whose communications
       are to be intercepted, and a full and complete statement as to whether
       or not other investigative procedures have been tried and failed or why
       they reasonably appear to be unlikely to succeed if tried or to be too
       dangerous.

United States v. Gonzalez Perez, 283 F. App’x 716, 720 (11th Cir. 2008) (per curiam)

(unpublished) (alterations in original) (internal marks omitted) (quoting 18 U.S.C.

§ 2518(1)(b), (c)); see also United States v. Woodley, No. CR408-315, 2009 WL

3415214, at *1 (S.D. Ga. Oct. 22, 2009), adopted at *1.

       Upon a proper application, a district judge may issue an ex parte order

authorizing the interception of wire communications if:

       the judge finds probable cause to believe that an individual is
       committing or has committed a qualifying offense; that particular
       communications concerning that offense will be obtained through such


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       interception; and that the facilities from which, or the place where, the
       communications are to be intercepted are being used in connection with
       the offense, or are leased to, listed in the name of, or commonly used by
       such person.

United States v. Duarte-Rosales, Criminal File No. 1:05-CR-197-6-TWT, 2008 WL

140665, at *2 (N.D. Ga. Jan. 11, 2008), adopted at *1 (citing 18 U.S.C. § 2518(3)(a), (b)

and (d)); see also United States v. Robles, 283 F. App’x 726, 734-35 (11th Cir. 2008)

(per curiam) (unpublished). “Probable cause for a wiretap is the same probable

cause required for a search warrant,” Duarte-Rosales, 2008 WL 140665, at *2

(citations omitted), and “[l]ike other types of warrants, probable cause must exist at

the time surveillance is authorized,” Flores, 2007 WL 2904109, at *21 (citing United

States v. Domme, 753 F.2d 950, 953 (11th Cir. 1985)). “[A] wiretap order is presumed

to be valid, and a defendant has the burden of overcoming the presumption and of

proving that the wiretap order was unlawfully obtained.” Id. at *22 (citations

omitted). “This Court need merely determine whether the judge who signed the

[order] had a substantial basis for concluding that probable cause existed.” Duarte-

Rosales, 2008 WL 140665, at *2 (citations omitted).

B.     Analysis

       Defendants seek to suppress evidence obtained as a result of various wiretaps

obtained by the government. Specifically, Henderson seeks to suppress evidence

arising from the first wiretap, asserting that the supporting affidavit “fail[ed] to


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establish the reliability and special expertise of the affiant” because it contained

boilerplate language “infect[ing] probable cause.” [Doc. 247 at 8-11]. He also asserts

that none of the affidavits established that the wiretaps were necessary under 18

U.S.C. § 2518, citing the fact that the description of the investigation in the affidavits

shows that other investigatory techniques had proven successful. See [id. at 11-17].22

      Similarly, Dooley also contends that none of the affidavits established that the

wiretaps were necessary under 18 U.S.C. § 2518, citing the success of other

investigative techniques and asserting that “agents failed to explain why these other

techniques would not continue to provide useful information.” [Doc. 252 at 6].

Moreover, he asserts that the second wiretap application was unsupported by

probable cause, rendering all evidence obtained as a result of it, including

subsequent wiretaps, inadmissible. See [id. at 7-9]. Like Henderson, he cites the fact

that other investigatory techniques had proven successful in support of his

contention that the wiretaps were not shown to be necessary, and contends that the

      22
          Henderson also asserts that because “Booker, the target of the initial
application ha[d] clearly already been identified and tied to the Gwinnett County
robberies . . . one of the statutory conditions precedent for the authorization for a
wiretap was not satisfied and the application therefore should have been denied.”
[Doc. 247 at 17]. However, Henderson does not identify any precedent for the
proposition that wiretaps are unnecessary if their target has been identified, and the
Court is aware of no such authority. Accordingly, the Court construes this argument
as one that the wiretap was not necessary because law enforcement had achieved
sufficient success through other investigatory techniques to discover Booker’s
identity and tie him to the robberies.

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use of boilerplate language renders the application invalid. [Id. at 5-7]. With respect

to probable cause, Dooley asserts that he was tied to Booker and the investigation

based on mere connections between their phones and “innocuous comments” made

in conversations overheard as a result of the first wiretap, and that these comments

did not create probable cause to intercept all communications to his telephone. [Id.

at 7-8]. Defendants request an evidentiary hearing on their motions; in particular,

Henderson requests a Franks23 hearing “[b]ecause substantial questions still exist as

to the need for wiretaps in light of the success of conventional investigative

techniques.” [Doc. 427 at 17]; see also [Doc. 252 at 8 (Dooley requesting an

“evidentiary hearing”)]. The Court will address each of these arguments in turn.

      1.       Standing24

      “In order to contest an order permitting the interception of communications,

a defendant must establish that he was an ‘aggrieved person.’”25 United States v.


      23
           See Franks v. Delaware, 438 U.S. 154 (1978).
      24
        In addition to the argument raised in their motions to suppress, defendants
submitted supplemental briefs concerning standing at the request of this Court,
see [Docs. 544 (Dooley’s brief), 548 (Henderson’s brief)], to which the government
has responded, [Doc. 555]; see also [Doc. 341 at 7-27 (arguments regarding standing
in government’s initial response to the motions to suppress)].
      25
        Such a showing must also be made before defendant is entitled to an
evidentiary hearing regarding any such challenge. See United States v. Cooper, 203
F.3d 1279, 1285 (11th Cir. 2000) (“Defendants are not entitled to an evidentiary
hearing based on a ‘promise’ to prove at the hearing that which they did not

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Ortega-Estrada, Criminal File No. 1:07-CR-356-TWT, 2008 WL 4716949, at *2 (N.D.

Ga. Oct. 22, 2008), adopted at *1 (quoting 18 U.S.C. § 2518(10)(a)). “Such a person

is defined in the relevant statute as a ‘person who was a party to an intercepted . .

. communication or a person against whom the interception was directed.’” Id.

(alteration in original) (quoting 18 U.S.C. § 2510(11)); see also Flores, 2007 WL

2904109, at *2 (citation and internal marks omitted) (“To [challenge a wiretap] a

defendant must show: (1) he was a party to the communication, (2) the wiretap

efforts were directed at him, or (3) the interception took place on his premises.”).

The Supreme Court has explained that the statutory definition of “aggrieved

person” “should be construed in accordance with existing standing rules,”

Alderman v. United States, 394 U.S. 165, 176 n.9 (1969) (citation omitted), so that one

seeking to suppress intercepted communications must “allege, and if the allegation

be disputed [must] establish, that he himself was the victim of an invasion of

privacy,” Jones v. United States, 362 U.S. 257, 261 (1960), overruled on other grounds

by United States v. Salvucci, 448 U.S. 83 (1980).

      Under existing standing rules, “[t]he Fourth Amendment protects an

individual in those places where he can demonstrate a reasonable expectation of

privacy against government intrusion.” United States v. Suarez-Blanca, Criminal



specifically allege in their motion to suppress [i.e. standing].”).

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Indictment No. 1:07-CR-0023-MHS/AJB, 2008 WL 4200156, at *5 (N.D. Ga. Apr. 21,

2008) (citing Katz v. United States, 389 U.S. 347, 353 (1967)). “Fourth Amendment

rights, however, are personal, and only individuals who actually enjoy the

reasonable expectation of privacy have standing to challenge the validity of a

government search.” Id. (citations omitted); see also Rakas v. Illinois, 439 U.S. 128,

133-34 (1978). “To have standing to challenge a search, one must manifest a

subjective expectation of privacy in the invaded area that society is prepared to

recognize as reasonable.” Suarez-Blanca, 2008 WL 4200156, at *5 (citations and

internal marks omitted); see also California v. Ciraolo, 476 U.S. 207, 211 (1986)

(standing to challenge search requires a subjective expectation of privacy that society

would recognize as legitimate); United States v. Baron-Mantilla, 743 F.2d 868, 870

(11th Cir. 1984) (per curiam). Additionally, “‘[l]egitimation of expectations of

privacy by law must have a source outside of the Fourth Amendment, either by

reference to concepts of real or personal property law or to understandings that are

recognized and permitted by society.’” Suarez-Blanca, 2008 WL 4200156, at *5

(alteration in original) (quoting Rakas, 439 U.S. at 143 n.12). “Thus, an individual

asserting Fourth Amendment rights ‘must demonstrate that he personally has an

expectation of privacy in the place searched, and that his expectation is

reasonable[.]’” Id. at *6 (alteration in original) (quoting Minnesota v. Carter, 525 U.S.



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83, 88 (1998)). That is, defendants “must establish both a subjective and an objective

expectation of privacy,” and they “bear the burden of showing a legitimate

expectation of privacy in the area searched.” Id. (citations omitted).

             a.     Henderson’s standing to challenge the wiretaps

      Henderson asserts that he is an “aggrieved person” with respect to the second

and third wiretap orders and has standing to challenge these wiretap orders because

he was the “subject of, an alleged participant in or a party to the intercepted

communications.” [Doc. 247 at 4 (citations and internal marks omitted)]; see also

[Doc. 548].26 In support of this assertion, Henderson offers the affidavit of his


      26
         It is undisputed that Henderson was not specifically identified on any
wiretap order as a subscriber or user of any of the target telephones, see [Docs. 341-1
to 341-4], and he has made no showing that the communications were intercepted
on property that he owns, see Flores, 2007 WL 2904109, at *2 (citation and internal
marks omitted). Although Henderson also asserts in his original motion to suppress
that he has standing because the wiretap was “directed at him” in that he “is alleged
to be a member of the target organization[] he is sufficiently connected with that
group to challenge the wiretaps used in the prosecution against him,” [Doc. 247 at
4-5], he does not renew this argument in his supplemental brief, and in any event,
the Supreme Court has specifically rejected standing on the basis of membership in
a group or conspiracy, see Alderman, 394 U.S. at 171-72, 174 (noting that
“coconspirators and codefendants have been accorded no special standing” and that
Fourth Amendment rights “may not be vicariously asserted”); United States v.
Fredericks, 586 F.2d 470, 480 (5th Cir. 1978); Flores, 2007 WL 2904109, at *17 (citation
omitted) (“Standing is not conferred on co-conspirators or co-defendants who are
not parties to or targets of the intercepted communications, merely because they are
implicated by th evidence obtained during the surveillance.”). Decisions of the Fifth
Circuit rendered before October 1, 1981, are binding upon panels of the Eleventh
Circuit. Bonner v. City of Prichard, Ala., 661 F.2d 1206, 1209 (11th Cir. 1981) (en
banc).

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mother, Audrey Henderson, who listened to the recorded telephone calls and

indicated that she heard Henderson’s voice in nine of the recorded calls.27 See [Doc.

548 at 3-4; Doc. 548-1]. Accordingly, the Court finds, and the government concedes,

see [Doc. 555 at 5-6], that Henderson qualifies as an “aggrieved person” under the

statute and has established the requisite standing to challenge the second and third

wiretap orders, which authorized the interception of communications on Target

Telephones ## 2-4.

             b.    Dooley’s standing to challenge the wiretaps

      Dooley asserts that he is an “aggrieved person” with respect to all four

wiretap orders and has standing to challenge each of them.28 [Doc. 252 at 8; Doc.

544]. In support of his contention that he is an “aggrieved person” under the statute,

Dooley offers the affidavit of his brother, Donyale Dooley (“Donyale”), stating that

he identified Dooley as a participant in several conversations on each of the Target




      27
       Specifically, she testified that she heard Henderson’s voice in Call # 1453
from Target Telephone #2, Calls ## 26-28, 63, 97, 122, and 1156 from Target
Telephone #3, and Call # 127 from Target Telephone #4. [Doc. 548-1].
      28
        The government concedes that Dooley is an aggrieved person and had a
reasonable expectation of privacy with respect to the fourth wiretap order, which
was for Target Telephone #5, registered under Dooley’s name. See [Doc. 341 at 20;
Doc. 341-4 at 2].

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Telephones.29 See [Doc. 544 at 5-7; Doc. 544-1]. Accordingly, the Court finds, and

the government concedes, see [Doc. 555 at 6], that Dooley qualifies as an “aggrieved

person” under 18 U.S.C. § 2518(10)(a) with respect to all wiretap orders and Target

Telephones.

      However, Dooley must also establish that he has a reasonable expectation of

privacy in the communications intercepted from the Target Telephones, and the

government contends that because Dooley was using a false name with respect to

Target Telephones ##2-4, he cannot demonstrate the reasonable expectation of

privacy required for standing to challenge the second and third wiretaps. See [Doc.

555 at 6-15 (citing Suarez-Blanca, 2008 WL 4200156, at *5) (footnote and citations

omitted) (“Courts have determined that an individual does not have a legitimate

expectation of privacy in items that are not in the individual’s name or when an

individual uses an alias or fictitious name and there is no other evidence linking the

defendant to the item or property.”)]. For the reasons stated in the Report and



      29
         Specifically, Donyale testified that he identified Dooley’s voice on Calls
##404, 682, 965, 1073, 1130, 1191, and 1357 from Target Telephone #1; Calls ##16, 36,
1449, 1450, and 1451 from Target Telephone #2; Calls ##99, 113, 167, 310, 330, 341,
378, 431, 704, 899, 1057, 1137, 1142, 1156, and 1166 from Target Telephone #3; Calls
##54 and 127 from Target Telephone #4; and Call #29 on Target Telephone #5.
[Doc. 544 at 5-7; Doc. 544-1]. Donyale also testified that he heard part of other calls
indicating that his brother was using Target Telephone #2, and that, in the interest
of time, he did not listen to all the calls intercepted from Target Telephones ##3-5.
[Doc. 544 at 6-7; Doc. 544-1].

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Recommendation on Dooley’s motion to suppress evidence obtained from real time

location data derived from his cell phones, the Court finds that Dooley has presented

“other evidence” that sufficiently shows a connection between Dooley and the

subscriber name used to set up Target Telephones ## 2-4, establishing his reasonable

expectation of privacy in those phones and his standing to challenge the second and

third wiretap orders.30 See [Doc. 574 at 42-49]; see also Suarez-Blanca, 2008 WL

4200156, at *6 n.6 (citations omitted); see also United States v. Garcia-Bercovich, 582

F.3d 1234, 1236 (11th Cir. 2009) (finding sufficient “other evidence” to establish a

reasonable expectation of privacy in a package mailed to an alias where the

defendant established that he had retrieved two other similarly addressed packages

in the past).

      2.        Requests for Hearings

      Henderson “requests a Franks hearing to determine the extent and potential

of the information and evidence that law enforcement had when they sought the

wiretaps,” apparently contending that the affidavits in support of the wiretap

applications contained misrepresentations with respect to the necessity and probable




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        Accordingly, for purposes of discussion in the remainder of this Report and
Recommendation, Dooley will be considered as the actual subscriber to the phones
registered to “Donyale Dooley.”

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cause requirements. [Doc. 247 at 17 (citations omitted)].31 However, in order to

merit such a hearing, a defendant must make “a substantial preliminary showing

that a false statement [or omission] knowingly and intentionally, or with reckless

disregard for the truth, was included by the affiant in the warrant affidavit.” Franks,

438 U.S. at 155-56; see also United States v. Wilson, 314 F. App’x 239, 243 (11th Cir.

2009) (per curiam) (unpublished); Flores, 2007 WL 2904109, at *31. A defendant’s

attack “must be more than conclusory and must be supported by more than a mere

      31
          Dooley also requests an evidentiary hearing regarding his motion, [Doc. 252
at 8-9], but not a Franks hearing. Rather, Dooley contends that the second wiretap
order was not supported by probable cause, and since the government relied on
information gathered from the second wiretap in its subsequent wiretap
applications, an evidentiary hearing is necessary to determine “the effect this illegal
seizure had on evidence derived from later interceptions.” [Id. at 2]. However, since
the Court finds, for the reasons discussed hereinafter, that the second wiretap was
supported by probable cause, Dooley’s request for a hearing is DENIED. Moreover,
to the extent Dooley requests a more general evidentiary hearing regarding the
issues raised in his motion, the district court has broad discretion in determining
whether to conduct an evidentiary hearing, see United States v. Cantu, 625 F. Supp.
656, 665 n.16 (N.D. Fla. 1985) (citation omitted), and one is only required where “the
allegations of the moving papers, including affidavits if any are filed, are sufficiently
definite, specific, detailed, and nonconjectural, to enable the court to conclude that
a substantial claim is presented. If the allegations are sufficient and factual issues are
raised, a hearing is required,” id. at 664 (emphasis omitted) (quoting United States
v. Poe, 462 F.2d 195, 197 (5th Cir. 1972) (citation omitted)). However, Dooley’s
general challenges with respect to necessity and probable cause do not identify any
specific unresolved issues of fact, and instead merely address whether the affidavits
in support of the wiretaps, which are already before the Court, meet the statutory
requirements to demonstrate necessity and probable cause, and therefore the issues
he has raised may be addressed without further factual development. Accordingly,
to the extent Dooley has made a general request for an evidentiary hearing, it is due
to be DENIED.

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desire to cross-examine.” Flores, 2007 WL 2904109, at *32 (quoting Franks, 438 U.S.

at 171-72). “‘There must be allegations of deliberate falsehood or of reckless

disregard for the truth, and those allegations must be accompanied by an offer of

proof.’” Id. (quoting Franks, 438 U.S. at 171-72). Henderson has made no such

allegations or offer of proof here, as he merely makes the bald, general assertion that

Detective Whaley somehow misrepresented the success of conventional

investigative techniques with respect to the necessity requirement, see [Doc. 247 at

17], and that Detective Whaley’s credibility is somehow maligned by two errant

references to investigating drug activity in the introduction and summary portions

of an affidavit that totals over forty pages, see [id. at 8-11]. Because Henderson has

failed to meet the minimum requirements for a Franks hearing, his request for an

evidentiary hearing is DENIED. See Flores, 2007 WL 2904109, at *32-33; see also

United States v. Arbolaez, 450 F.3d 1283, 1294 (11th Cir. 2006) (per curiam) (denying

a request for a Franks hearing because there was “no affidavit or otherwise sworn

statement alleging that [the affiant] knowingly or recklessly included false

statements in the search warrant affidavit”); United States v. Thompson, No. 10-cr-

20140, 2011 WL 4455244, at *7-9 (S.D. Fla. Mar. 31, 2011).




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      3.     Necessity

      “Pursuant to 18 U.S.C. § 2518, court-ordered electronic surveillance is

prohibited unless the government demonstrates the necessity of such techniques.”

Wilson, 314 F. App’x at 243 (citation omitted). “This statute requires that wiretap

applications include a ‘full and complete statement as to whether or not other

investigative procedures have been tried and failed or why they reasonably appear

to be unlikely to succeed if tried or to be too dangerous . . . .’” United States v.

Collins, 300 F. App’x 663, 666 (11th Cir. 2008) (unpublished) (alteration in original)

(quoting 18 U.S.C. § 2518(1)(c)); see also Wilson, 314 F. App’x at 243. “The purpose

of this statute is to ensure that wiretapping is not resorted to in situations in which

traditional investigative techniques32 would suffice to expose the crime.” Collins,

300 F. App’x      at 666 (footnote added).      “‘The affidavit need not show a

comprehensive exhaustion of all possible techniques, but must simply explain the

retroactive or prospective failure of several investigative techniques that reasonably

suggest themselves.’” Id. (quoting United States v. Van Horn, 789 F.2d 1492, 1496

(11th Cir. 1986)). “The district court is entitled to broad discretion in analyzing the

necessity issue, and the government’s showing on necessity must be read in a



      32
         “Traditional investigative techniques include: physical surveillance,
cooperating witnesses, informants, controlled drug purchases, pen registers and trap
and trace devices.” Collins, 300 F. App’x at 666 n.2.

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practical and commonsense fashion.” United States v. Newsome, No. CR 108-062,

2008 WL 4820257, at *3 (S.D. Ga. Nov. 4, 2008), adopted at *1 (citation and internal

marks omitted); see also United States v. Ashley, 876 F.2d 1069, 1073 (1st Cir. 1989)

(citation omitted) (“The government affidavit is adequate if it satisfies the burden

that it indicate a ‘reasonable likelihood’ that alternative techniques would fail to

expose the crime.”); Flores, 2007 WL 2904109, at *27 (citation omitted).

      “Congress’ purpose in conditioning wiretaps upon a showing of necessity was

narrow.” United States v. Hammond, No. 2:10-cr-0007-JMS-CMM, 2011 WL 201497,

at *5 (S.D. Ind. Jan. 18, 2011). “Congress wanted to ensure not that wiretaps are used

only as a last resort in an investigation, but that they were not to be routinely

employed as the initial step in criminal investigation.” Id. (citation and internal

marks omitted); see also United States v. Giordano, 416 U.S. 505, 515 (1974).

Therefore, “the necessity hurdle is not great.” Hammond, 2011 WL 201497, at *5

(citations and internal marks omitted).

      Defendants assert that none of the wiretap affidavits fulfilled the “necessity”

requirement for a wiretap order because the recitation of evidence in the affidavit

showed that conventional investigatory techniques had been successful. See [Doc.

247 at 11-17; Doc. 252 at 5-9]. Dooley also asserts that the affidavits merely recite

boiler-plate rationales and that the government has therefore failed to carry its



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burden of showing a necessity for the wiretaps. [Doc. 252 at 7-9]. The Court

disagrees.

      In his affidavits, Detective Whaley described at length the investigation

undertaken by law enforcement agents from several jurisdictions and explained that

the wiretaps were necessary to accomplish specific objectives of that investigation,

including fully revealing the nature and extent and all methods of committing the

armed robberies; the identities of all participants in the armed robberies; how the

money from the armed robberies was distributed; all locations of contraband and

other items used in furtherance of the armed robberies; the existence and location

of all records used in the conspiracy; the location and source of all resources used

to finance the illegal activities; the location and disposition of all proceeds from the

activities; and the collection of evidence useful in the prosecution of the target

subjects for the armed robberies. [Doc. 341-1 at 21-22].        Detective Whaley then

provided a detailed explanation of the techniques already employed by law

enforcement and the reasons why these techniques had failed to achieve the

investigation’s objectives or why he believed such techniques would fail in this

particular investigation. [Id. at 47-54; Doc. 341-2 at 15-18; Doc. 341-3 at 10; Doc. 341-4

at 11]. These techniques included physical surveillance, grand jury subpoenas,

subpoenas to custodians of records, use of confidential informants or undercover



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agents, consensual monitoring, interviews with witnesses or targets, search

warrants, toll records, pen registers, and trap and trace devices. [Doc. 341-1 at 47-54;

Doc. 341-2 at 15-18; Doc. 341-3 at 10; Doc. 341-4 at 11].

      Detective Whaley also explained, with reference to the investigation

undertaken in this specific case, why these other investigatory techniques would not

serve the investigation’s goals. For example, he noted that Booker’s evasive driving

techniques and sporadic schedule made physical surveillance difficult in light of the

investigation’s goals of uncovering the full details regarding the conspiracy and

crimes committed. [Doc. 341-1 at 47-48]; see also [Doc. 341-2 at 15 (noting that

physical surveillance was becoming increasingly difficult since the subjects were

aware that they were being followed)]. He noted that subpoenas and search

warrants were not likely to yield productive information at that point in the

investigation, and that interviews, use of confidential informants, consensual

searches, consensual monitoring, or grand jury subpoenas were unlikely to be

effective because he did not believe any of the suspects would cooperate given the

familial relationships or close friendships involved, and he stated that he did not

want to compromise the investigation by offering immunity at that point in the

investigation because law enforcement was not yet sure which suspects were most

culpable. [Doc. 341-1 at 49-50, 52-54 (also noting that officials were unaware of any

person willing to speak with them who had “firsthand knowledge about the day-

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today operations of the organization”)]. Furthermore, he noted that it was unlikely

an undercover agent or other informant could infiltrate the organization in a timely

manner, and that such an undertaking would be highly dangerous given the

suspects’ propensity for violence. [Id. at 50-51]. Finally, with respect to pen

registers, toll records, or trap and trace devices, Detective Whaley observed that

those measures had already been as helpful as their “limited use” would allow given

that they do not provide content or real-time information about communications

between suspects, nor do they even affirmatively identify which individual is

actually using the phone to participate in the call, and subpoenaing the documents

related to the telephones would not likely provide accurate information as

individuals routinely use false subscriber information.33 [Id. at 49, 52].

      This recitation meets the necessity requirement for a wiretap affidavit, and

“[t]he fact that the traditional methods in use were producing evidence does not

alter [the Court’s] conclusion.” United States v. Allen, 274 F. App’x 811, 816 (11th

Cir. 2008) (per curiam) (unpublished). “Nothing in the law requires that the

traditional methods be entirely useless or that the district court force the government

to redefine its objectives.” Id.; see also United States v. Bennett, 219 F.3d 1117, 1122

(9th Cir. 2000) (providing that “the mere attainment of some degree of success

      33
       The recitation of necessity in the first affidavit was incorporated into each
subsequent wiretap affidavit. See [Doc. 341-2 at 3; Doc. 341-3 at 10; Doc. 341-4 at 11].


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during law enforcement’s use of traditional investigative methods does not alone

serve to extinguish the need for a wiretap”). Here, Detective Whaley described the

success the investigation had experienced with traditional techniques by outlining

the evidence law enforcement had thus far amassed against the suspects, but he also

described in detail how those techniques have limitations which made them

subsequently less useful in light of the investigation’s goal to identify all participants

and determine the full extent and scope of the conspiracy, demonstrating the

requisite necessity for the wiretaps. See United States v. Kelley, Criminal No.

08-00327-CG, 2009 WL 2589086, at *2 (S.D. Ala. Aug. 17, 2009) (citations and internal

marks omitted) (“This circuit has repeatedly held that, where conventional

techniques will not show the entire scope of the conspiracy, a wiretap is permissible,

even in those situations where conventional techniques will allow for the arrest and

conviction of some members.”).34

      Moreover, although Dooley is correct that an affidavit supporting a wiretap

application must “show with specificity why in this particular investigation ordinary

means of investigation will fail,” United States v. Carrazana, 921 F.2d 1557, 1565

(11th Cir. 1991) (citations omitted), and he is correct that some of the conclusions in




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         Thus, Henderson’s conclusory assertion that the wiretap affidavit fails to
meet statutory conditions precedent simply because Booker had already been
identified, see [Doc. 247 at 17], is without merit.

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Detective Whaley’s affidavits, such as the ineffectiveness of pen registers and

tracking devices, or the fear that a grand jury investigation or interviews with

witnesses would alert the conspirators, see, e.g., [Doc. 341-1 at 47-54], could certainly

apply to other investigations, an affidavit meets the necessity requirement despite

the presence of commonly-employed language as long as it is “sufficiently specific

and do[es] not constitute ‘boiler-plate’ rationales,” United States v. Degaule, 797 F.

Supp. 2d 1332, 1359 (N.D. Ga. 2011), adopted at 1344. Here, Detective Whaley’s

affidavit “[i]nclud[es] more than mere general declarations and conclusory

statements, [and] instead incorporates detailed facts and supporting conclusions that

satisfy the predicates of 18 U.S.C. § 2518(c).” See United States v. Murdock, No.

CR410-160, 2011 WL 43503, at *1 (S.D. Ga. Jan. 6, 2011). Indeed, Detective Whaley

provided detailed information specific to this investigation, including a description

of Booker’s evasive driving techniques and sporadic schedule; how individuals

interviewed by Agent Szabo did not have firsthand knowledge of day-to-day

operations rendering use of a confidential informant unhelpful; how investigators

were as yet unaware of relative culpability levels and did not want to offer

immunity at that point in the investigation; the “propensity for violence” of the

conspiracy members, as illustrated by the “unprovoked shooting of the Loomis

guard in DeKalb County;” the fact that only Booker’s residence had been identified

and specific reasons as to why searching his residence at that time was untenable;

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and with respect to the Second Wiretap Order, how individuals involved in the

conspiracy had picked up on the fact that they were being monitored, indicating that

traditional investigative techniques were unlikely to serve the specific goals of the

pending investigation. See [Doc. 341-1 at 47-54; Doc. 341-2 at 15-18]. Given these

specific statements, the fact that some of the reasons that traditional investigative

techniques would not work may apply to other investigations, “will not negate a

finding of necessity [because] the affidavit, as a whole, alleges sufficient facts

demonstrating necessity.” United States v. Torres, 908 F.2d 1417, 1423 (9th Cir. 1990)

(citations omitted). Accordingly, the Court rejects defendants’ arguments, and

“finds that the government met the necessity requirements of 18 U.S.C. § 2518 in its

application[s] for a wiretap.” Kelley, 2009 WL 2589086, at *3.

      4.     Probable Cause

      “To support an order of electronic surveillance, an affidavit must establish,

among other things, probable cause to believe that an individual is committing, has

committed, or is about to commit certain offenses enumerated in 18 U.S.C. § 2516,

and probable cause to believe that communications concerning that offense will be

obtained through electronic surveillance.” United States v. Peterson, 627 F. Supp.

2d 1359, 1363 (M.D. Ga. 2008) (citation omitted). “The probable cause necessary to

support a wiretap authorization is the same probable cause necessary for a search

warrant.” Id. (citing United States v. Nixon, 918 F.2d 895, 900 (11th Cir. 1990)); see

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also Gonzalez Perez, 283 F. App’x at 721. “Thus, probable [cause] exists if the

totality of the circumstances indicate that there is a fair probability that the sought

for evidence will be obtained.” Peterson, 627 F. Supp. at 1363 (citing Illinois v. Gates,

462 U.S. 213, 239 (1983)). “The probable cause determination of the judge who

issued the wiretap order will be upheld if the judge had a ‘substantial basis’ for

concluding that probable cause existed.” Id. (citing Nixon, 918 F.2d at 900).

      Henderson asserts that the affidavit supporting the initial wiretap

application35 contained boilerplate language demonstrating the affiant’s “lack of

reliability” and “infect[ing] probable cause.” [Doc. 247 at 8-11].         Dooley also

specifically challenges the probable cause finding regarding the Second Wiretap

Order, asserting that tying him to Booker and the investigation based on mere

connections between their phones and “innocuous comments” made in

conversations overheard as a result of the first wiretap did not create probable cause

to intercept all communications to Target Telephone #2. See [Doc. 252 at 7-9].




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         As previously discussed, Henderson only has standing to challenge the
Second and Third Wiretap Orders, authorizing interception of communications from
Target Telephones ## 2-4. See discussion, supra. Because these wiretap orders
incorporated by reference the recitation of facts supporting probable cause in the
affidavit supporting the First Wiretap Order, see [Doc. 341-2 at 3 ; Doc. 341-3 at 10],
Detective Whaley’s testimony in the initial wiretap application is relevant to
Henderson’s challenge.

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             a.     Detective Whaley’s Reliability as Affiant

      Henderson asserts that references in the affidavit to “drug activity” show that

the affidavit contains boilerplate language and indicate that Detective Whaley’s

statement is unreliable.36 See generally [Doc. 247 at 8-11]. He asserts that due to

these inaccuracies, the affidavit does not effectively demonstrate probable cause. See



      36
          To the extent Henderson also contends that the affidavit does not establish
Detective Whaley’s expertise, see [Doc. 247 at 8-9 (making two brief references to
affiant’s expertise by stating the affidavit “fail[ed] to establish. . . special expertise
of the affiant” and that his “lack of experience would infect probable cause”)], his
contention has no merit. Detective Whaley summarized his expertise at length,
noting that he had been employed by the GCPD since June of 2007 and had been a
police officer since January of 2000. [Doc. 341-1 at 17]. He stated that he had worked
for four years working on narcotics investigations, prostitution investigations,
burglary investigations, and robbery investigations. [Id.]. Detective Whaley averred
that he had attended “Basic Investigations courses,” received 2325 hours of POST
instruction, and that he had been the lead investigator in “numerous drug
investigations and prostitution investigations” when he worked for a different police
department, that he had been the lead investigator in “numerous burglary and
robbery investigations while working for [GCPD]” and that he had been associated
with more than two hundred felony charges as a result of those investigations. [Id.].
He further affirmed that his investigations had resulted in “arrests, search warrants
and seizure of [illegal drugs], money, guns, and personal property of victims” and
that he as “familiar with how [] drug organizations operate as well as burglary and
robbery organizations.” [Id.]. He stated that he was “familiar with the ways in
which armed robbers conduct their business, including the various means and
method by which armed robbers and their criminal organizations use cellular
telephone, text messaging, digital display paging devices and calling cards to
facilitate armed robberies; and their use of numerical codes and code words to
conduct their transactions.” [Id. at 17-18]. He testified that in his experience “armed
robbers often obtain cellular telephones in fictitious names, and/or the names of
third parties in an effort to conceal their drug trafficking [sic] activities from law
enforcement.” [Id. at 18]. This information is sufficient to establish his expertise as
an investigator in general and with respect to robbery investigations in particular.

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[id.]. However, where a defendant challenges the accuracy and reliability of an

affidavit, the challenge is more properly analyzed under Franks, which requires that

a defendant show officers intentionally or recklessly included false information or

omitted necessary true information in the affidavit.37         See United States v.

Wuagneux, 683 F.2d 1343, 1354 (11th Cir. 1982) (analyzing appellant’s argument

regarding inaccuracies and mistakes in an affidavit under Franks); United States v.

Richardson, 268 F. App’x 868, 868-69 (11th Cir. 2008) (per curiam) (unpublished)

(addressing an appellant’s argument against an affiant’s reliability as a Franks

challenge). However, negligent or innocent mistakes do not violate the Fourth

Amendment, Franks, 438 U.S. at 171; Wuagneux, 683 F.2d at 1355, and, as previously

discussed, Henderson has not even made a sufficient showing to meet the initial

burden for a Franks hearing, much less presented a meritorious Franks claim.38


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         Instead of applying this standard, Henderson includes a discussion of the
relevant standards for determining if probable cause has been established where an
informant is mentioned in an affidavit. See [Doc. 247 at 10-11]. However, the
affidavit at issue here does not mention any information provided by a confidential
informant, see generally [Doc. 341-1], and to the extent Henderson seeks to apply
this standard of reliability to Detective Whaley as an affiant, his reliance on these
cases is misplaced.
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         Even if Henderson’s challenge were considered as attacking probable cause,
he has not in any way even argued how two errant references to drug activity in a
45-page affidavit, see [Doc. 341-1 at 3, 39], diminish the recitation of probable cause
which otherwise makes clear that the instant investigation centered on a series of
armed robberies, describing in detail the government’s investigation of the robberies,
identification of suspects, and how law enforcement connected those suspects to the
respective Target Telephones, see generally [Doc. 247].

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Accordingly, as this court finds that the wiretap affidavits effectively demonstrated

both necessity and probable cause, it is RECOMMENDED that Henderson’s motion

to suppress evidence of illegally intercepted communications, [Doc. 247], be

DENIED.

             b.    Probable Cause for the Second Wiretap Order

      Contrary to Dooley’s contentions, see [Doc. 252 at 7-9], Detective Whaley’s

affidavit provided sufficient facts to establish probable cause to support the Second

Wiretap Order.    Beginning with the affidavit in support of the first wiretap

application, incorporated by reference into the application for the second wiretap,

Detective Whaley explained how law enforcement had identified Booker and Dooley

as suspects in several armed robberies, believed to have been carried out by the same

group of individuals due to similarities in the crimes. [Doc. 341-1 at 25-28, 33].

Detective Whaley detailed the discovery of Bennett’s fingerprints on a getaway

vehicle, and following his disappearance and murder, the subsequent investigation

of his death. [Id. at 33-39, 44-45]. During this investigation, law enforcement

interviewed Bennett’s friends and family, learned that Bennett had admitted

involvement in at least one of the robberies, and were able to identify Booker and

“Chicken,” as other individuals involved in the crimes. [Id. at 35-39]. Through

Bennett’s subpoenaed phone records and information provided during the

interviews, investigators obtained phone numbers associated with both “Chicken,”

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and Booker, and after subpoenaing the subscriber information for those numbers

were able to determine that “Chicken” was most likely Dooley, who lived at 5015

Michael Jay Street. [Id. at 33, 37, 39]; [Doc. 341-2 at 10-12, 14 (linking “Chicken” to

North Carolina)]. Obtaining phone records and cell site location information for

these numbers revealed that the phones had been used in the vicinity of the

robberies at the time that the robberies occurred and that they were often in contact

with each other.39 [Doc. 341-1 at 33-35, 44-45].

      Detective Whaley described how, after making these connections, law

enforcement installed and monitored GPS trackers on Booker’s vehicles, observing

his movements as he appeared to be “casing” a Loomis armored truck in Stone

Mountain, and discovered that a black Buick with a front hood that was noticeably

ajar appeared to be casing the truck in conjunction with Booker. [Doc. 341-1 at 40-

42]; see also [id. at 26-32 (describing investigation leading to identification of

vehicles through surveillance video and public records)]. The affidavit stated that

the Buick with the hood ajar observed casing the ATM of a Wells Fargo on March



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         Specifically, the wiretap affidavit notes (1) 2.77 hours of contact over 104
calls between one of Dooley’s phones and one of Booker’s phones; (2) 1.04 hours of
contact and over 15 calls between one of Dooley’s phones and one of Booker’s
phones; (3) 18.15 hours of contact over 319 calls between one of Booker’s phones and
one of Dooley’s phone, including 3 calls on November 11, 2010, the same date of the
Bank of America Robbery; 1 call on November 29, 2010, the same date of the Wells
Fargo Robbery; and 13 calls on December 7, 2010, the same date of the Mall of
Georgia robbery. [Doc. 341-2 at 6].

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7, 2011, was later observed by law enforcement parked in the driveway at 5015

Michael Jay Street, the address associated with Dooley and his telephones. [Doc.

341-2 at 13-14].

       Against this backdrop, Detective Whaley’s affidavit continued to describe

conversations between Booker and Dooley on March 20, 2011, five days after the

armed robbery at the Toco Hills Shopping Center, during which the courier was shot

and killed. [Id. at 10-11]. Detective Whaley then provided his interpretation of the

coded conversation held over the cell phones. [Id. at 11-12]. Specifically, he stated

that Dooley told Booker “that shit was ugly and unreal” and Booker acknowledged

him. [Id. at 10]. Dooley then stated that “they were just giving that pussy away”

and talked about how they “didn’t do their ‘homework,’” but that he had already

“put the homework in.” [Id.]. Booker asked him when he “wants to do that” and

Dooley replied “whenever you’re ready.” [Id.]. Dooley also made a reference to the

fact that “the mother fucker only go down there only to get a small change and that

was it.” [Id. at 11].

       Detective Whaley interpreted this “coded” conversation as a reference to the

DeKalb County armored truck robbery which had taken place on March 15, 2011,

during which the courier was shot and killed. [Id. at 10-11]. He believed that

Dooley was telling Booker that it was easy to rob guards, but that the last robbery

had not been preceded by sufficient surveillance and intelligence, referencing the

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fact that the amount of money taken in the robbery was significantly smaller than

the previous ones, a detail that had not been released to the public. [Id. at 11].

Detective Whaley interpreted the rest of the conversation to indicate that Dooley had

already done some surveillance on a new target, and he was ready for another

armed robbery whenever Booker was. [Id].

      “Courts considering wiretap applications are allowed to rely upon the

reasonable interpretations given by experienced law enforcement affiant-agents as

to the code, slang or obtuse language used by those persons engaged in allegedly

conspiratorial communications.” Flores, 2007 WL 2904109, at *24 n.16 (citations

omitted); see also United States v. Garcia, 447 F.3d 1327, 1335 (11th Cir. 2006);

Ortega-Estrada, 2008 WL 4716949, at *15 n.13; Flores, 2007 WL 2904109, at *39

(explaining that the issuing judge “may consider an agent’s training and experience

to offer opinions as to the methods utilized by [suspects] and, based on the same,

consider an agent’s interpretation of code words and language in determining

whether probable cause exists to authorize a [wiretap order]”). The Court finds,

contrary to Dooley’s conclusory assertions that Detective Whaley’s interpretation of

the conversation amounts to a “fantastic claim,” see [Doc. 252 at 7], that Detective

Whaley used his training and experience, see [Doc. 341-1 at 2 (summarizing

Detective Whaley’s experience and training as an investigator)], to draw reasonable

inferences regarding the meaning of the coded conversation in light of the context

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of the entire investigation. Moreover, contrary to Dooley’s contention, Detective

Whaley’s affidavit relied on more than “innocuous comments” in a “single call” to

support probable cause, [Doc. 252 at 3-4, 7-8], as the phone records, witness

interviews, and surveillance described in the affidavit connected Dooley to Booker

and both of them to a string of armored truck robberies, with indications that

another robbery was being contemplated. Therefore, based on the totality of the

facts contained in the affidavit, the undersigned finds that the judge authorizing the

wiretap reasonably concluded that there was probable cause to believe that

information and evidence concerning the armed robberies would be obtained

through the interception of wire communications over Target Telephone #2, and it

is RECOMMENDED that Dooley’s motion to suppress illegally intercepted

communications, [Doc. 252], be DENIED.

C.     Good Faith Exception

       The government contends that even if the affidavits in support of the wiretaps

did not establish probable cause or necessity, suppression of the evidence obtained

pursuant to those wiretaps would not be warranted. [Doc. 341 at 66-71]. Under

United States v. Leon, 468 U.S. 897 (1984), “the good faith exception to the

exclusionary rule ‘stands for the principle that courts generally should not render

inadmissible evidence obtained by police officers acting in reasonable reliance upon

a search warrant that is ultimately found to be unsupported by probable cause.’”

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United States v. Vanbrackle, 397 F. App’x 557, 559 (11th Cir. 2010) (per curiam)

(unpublished) (quoting United States v. Martin, 297 F.3d 1308, 1313 (11th Cir. 2002));

see also United States v. Robinson, 336 F.3d 1293, 1295-96 (11th Cir. 2003). The

exception is founded on the principle that the exclusionary rule “is designed to deter

police misconduct rather than to punish the errors of judges and magistrates,” Leon,

468 U.S. at 914; see also Herring v. United States, 555 U.S. 135, 137 (2009) (“The

question [of suppression] turns on the culpability of the police and the potential of

exclusion to deter wrongful police conduct.”); Arizona v. Evans, 514 U.S. 1, 14 (1995)

(citation omitted) (“[T]he exclusionary rule was historically designed as a means of

deterring police misconduct, not mistakes by court employees.”), and “[p]enalizing

an officer for the magistrate’s error, rather than his own, [therefore] cannot logically

contribute to the deterrence of Fourth Amendment violations,” Leon, 468 U.S. at 921.

The Eleventh Circuit has recognized that the good faith exception to the exclusionary

rule applies to wiretap applications and order. United States v. Malekzadeh, 855

F.2d 1492, 1497 (11th Cir. 1988); United States v. Acosta, 807 F. Supp. 2d 1154, 1248-

49 (N.D. Ga. 2011); Flores, 2007 WL 2904109, at *7; United States v. Russell, Cr. No.

2:08CR121-WHA, 2008 WL 4649051, at *5 (M.D. Ala. Oct. 20, 2008); United States v.

Royster, No. 5:07-CR-16 (WDO), 2007 WL 4336321, at *10 (M.D. Ga. Dec. 7, 2007).40

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         Although the Sixth Circuit has held that there is no good faith exception for
a warrant obtained pursuant to Title III, see United States v. Rice, 478 F.3d 704 (6th
Cir. 2007), the Eleventh Circuit’s precedent in Malekzadeh is controlling, see Acosta,

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      Recognizing that the good faith exception to the exclusionary rule would

permit introduction of almost all evidence seized pursuant to judicial authorization,

the Supreme Court also identified four specific situations in which the exception

would not apply: (1) where the warrant [or court order] is so facially deficient that

the executing officers cannot reasonably presume it to be valid; (2) where the issuing

judge was misled by information in the affidavit that the affiant knew was false or

would have known was false except for his reckless disregard of the truth; (3) where

the issuing judge wholly abandoned his judicial role; and (4) where the supporting

affidavit is so lacking in indicia of probable cause [or specific and articulable facts

relevant and material to an ongoing criminal investigation] as to render official belief

in its existence entirely unreasonable. Leon, 468 U.S. at 923; see also United States

v. Accardo, 749 F.2d 1477, 1480 & n.4 (11th Cir. 1985). However, neither defendant

has advanced any argument as to why the good faith exception would not apply,

and there is no evidence here that the issuing judge was misled or abandoned his

role as a neutral and detached judge, or that the wiretaps so lacked probable cause

or were so deficient as to bar the application of the good faith exception. See Acosta,

807 F. Supp. 2d at 1249 (finding that the good faith exception would apply where

“[d]efendant set forth no grounds supporting a finding that Leon’s good faith



807 F. Supp. 2d at 1248-49; Royster, 2007 WL 4336321, at *10 & n.5.

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exception does not apply to this case”); Royster, 2007 WL 4336321, at *10

(“Defendant . . . pointed to no evidence that the law enforcement officers in this case

had knowledge or may properly be charged with knowledge, that the search was

unconstitutional under the Fourth Amendment, and therefore the good faith

exception would apply even if the Court had not found the surveillance otherwise

valid.”). Accordingly, even if the wiretap orders were found to be deficient, law

enforcement reasonably relied in good faith on the wiretap orders, and defendants’

motions to suppress are due to be denied on this alternative basis. See Acosta, 807

F. Supp. 2d at 1248-49.

                                III. CONCLUSION

      For the foregoing reasons, it is hereby RECOMMENDED that Henderson’s

motion to suppress intercepted communications, [Doc. 247], and Dooley’s motion

to suppress evidence derived from illegally intercepted communications, [Doc. 252],

be DENIED.

      IT IS SO RECOMMENDED, this 30th day of January, 2013.




                                        RUSSELL G. VINEYARD
                                        UNITED STATES MAGISTRATE JUDGE




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